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                                                                              V 3.0 6/11/20   E-FILED
                                                        Friday, 10 September, 2021 11:02:45 AM
  Instructions for Connection to Cisco Meeting Video                Clerk, U.S. District Court, ILCD

                       Conference
                 Hon. Judge Myerscough
     AUDIO ONLY: 571-353-2300 CODE: 553633266#
Step 1. Open Google Chrome and copy/paste the following link into the address bar:


 https://join.uc.uscourts.gov/invited.sf?secret=E7ua43JBcUUYs1QCx.ecuQ&id=553633266



Step 2. Once the webpage loads, type your name into the Your Name field and select
the Join Meeting button.
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Step 3: On the next screen, select the little lock icon on the top near the address
bar and make sure that both the Camera and Microphone settings are set to
allow. There is a webcam preview available on this screen so make sure that the
defendant and whoever else needs to be in the room with him or her are both
visible. There is also a bar that shows the microphone level. Please make sure
your microphone is in working order and that you can be heard on the video
call. After verifying camera and microphone are connected, hit Join Meeting.
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Step 4: Once you reach this screen, you have now entered the meeting. Please
wait for the courtroom to connect their side, if they have not already.
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NOTE: If you happen to disconnect from the hearing before it is finished, you will
come across a screen like this:




You can select Join Meeting and type in meeting ID of 553633266. The
passcode field should be left blank.


If you have ANY issues connecting or are having difficulties hearing / seeing
the judge or anything on the federal courtroom side, please contact:


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 OR
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